                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

DUNKIN’ DONUTS FRANCHISING LLC, a      )
Delaware Limited Liability Company;    )
DD IP HOLDER LLC, a Delaware Limited   )
                                       )
Liability Company;
                                       )
BASKIN-ROBBINS FRANCHISING LLC,        )
a Delaware Limited Liability Company;  )
BR IP HOLDER LLC, a Delaware Limited   )
Liability Company; and                 )                    Case No. ______________
DB REAL ESTATE ASSETS I LLC, a         )
Delaware Limited Liability Company,    )
                                       )
                                       )
                           Plaintiffs, )
                                       )
        v.                             )
                                       )
YUGDHARINI LLC, a North Carolina       )
Limited Liability Company; ROHITKUMAR )
                                       )
L. SAVANI, an individual; RAJENDRA I.
                                       )
PATEL, an individual; HARPREET SINGH, )
an individual; BABUBHAI K. DUDHAT, an )
individual; and JAGDISH N. NAKRANI, an )
individual,                            )
                                       )
                           Defendants. )

              COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

       This is an action for breach of contract, trademark infringement, trade dress infringement,

and unfair competition arising from Defendants’ violation of their Franchise Agreements and

Sublease Agreements with Plaintiffs. Defendants breached the agreements by repeatedly violating

Dunkin’s operational standards relating to health, food safety, and sanitation at their former

Dunkin’ Donuts/Baskin-Robbins combo shops. Defendants have received multiple written notices

identifying their defaults and demanding that they be promptly cured but they have failed to




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remedy the situation. Indeed, a recent inspection of Defendants’ shops revealed the existence of

mold in the ice machine, food preparation equipment not properly cleaned and sanitized, food not

properly dated or stored, and improper hygiene practices by employees, to name but a few of the

violations identified. Based on these repeated violations, Plaintiffs recently sent Defendants a

Notice of Termination terminating their Franchise Agreements and Sublease Agreements.

Defendants’ continued use and enjoyment of Plaintiffs’ trademarks, trade names, and trade dress

after the effective date of the termination of the Franchise Agreements is a violation of the Lanham

Act, 15 U.S.C. §§ 1051 et seq. Plaintiffs seek monetary, injunctive, and other relief against

Defendant for the reasons set forth below.

                                             PARTIES

       1.      Plaintiff Dunkin’ Donuts Franchising LLC is a Delaware limited liability company

with its principal place of business at 130 Royall Street, Canton, Massachusetts. It is engaged in

the business of franchising independent businesspersons to individually own and operate Dunkin’

Donuts shops throughout the United States. Dunkin’ Donuts franchisees are licensed to use the

trade names, service marks, and trademarks of Dunkin’ Donuts and to operate under the Dunkin’

Donuts system, which involves the production, merchandising, and sale of donuts and related

products utilizing a specially designed building with special equipment, equipment layouts,

interior and exterior accessories, identification schemes, products, management programs,

standards, specifications, proprietary marks and identification.

       2.      Plaintiff DD IP Holder LLC, Dunkin’s wholly owned subsidiary and successor- in-

interest to Dunkin’ Donuts USA, Inc., is a Delaware limited liability company with its principal

place of business at 130 Royall Street, Canton, Massachusetts. DD IP Holder LLC is the owner

of the trademark, service mark, and trade name “Dunkin’ Donuts,” and related marks. Unless

otherwise specified, Dunkin’ Donuts Franchising LLC and DD IP Holder LLC are hereinafter


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collectively referred to as “Dunkin’.”

       3.      Plaintiff Baskin-Robbins Franchising LLC is a Delaware limited liability company

with its principal place of business at 130 Royall Street, Canton, Massachusetts. It is engaged in

the business of franchising independent businesspersons to individually own and operate Baskin-

Robbins stores throughout the United States. Baskin-Robbins franchisees are licensed to use the

trade names, service marks, and trademarks of Baskin-Robbins and to operate under the Baskin-

Robbins system, which involves the production, merchandising, and sale of ice cream and related

products utilizing special equipment, equipment layouts, interior and exterior accessories,

identification schemes, products, management programs, standards, specifications, proprietary

marks, and information.

       4.      Plaintiff BR IP Holder LLC, successor-in-interest to Baskin-Robbins Incorporated

is a Delaware limited liability company with its principal place of business at 130 Royall Street,

Canton, Massachusetts. BR IP Holder LLC is the owner of the trademark, service mark, and trade

name “Baskin-Robbins,” and related marks.          Unless otherwise specified, Baskin-Robbins

Franchising LLC and BR IP Holder LLC are hereinafter collectively referred to as “Baskin-

Robbins.”

       5.      Plaintiff DB Real Estate Assets I LLC, a successor-in-interest to Third Dunkin’

Donuts Realty, Inc., is a Delaware limited liability company with its principal place of business at

130 Royall Street, Canton, Massachusetts. It is engaged in the business of leasing properties to

enable Dunkin’ to franchise independent businesspersons to operate Dunkin’ Donuts shops at

those locations.

       6.      DB Master Finance LLC, a Delaware limited liability company, is the sole member

of Plaintiffs DD IP Holder LLC, BR IP Holder LLC, and DB Real Estate Assets I LLC. In turn,




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the sole member of DB Master Finance LLC is Baskin-Robbins International LLC, a Delaware

limited liability company. The sole member of Baskin-Robbins International LLC is Baskin-

Robbins Flavors LLC, a Delaware limited liability company. The sole member of Baskin-Robbins

Flavors LLC is Baskin-Robbins USA LLC, a California limited liability company. The sole

member of Baskin-Robbins USA LLC is Baskin-Robbins LLC, a Delaware limited liability

company. The sole member of Baskin-Robbins LLC is Mister Donut of America LLC, a Delaware

limited liability company. The sole member of Mister Donut of America LLC is Dunkin’ Donuts

USA LLC, a Delaware limited liability company. The sole member of Dunkin’ Donuts USA LLC

is Dunkin’ Donuts LLC, a Delaware limited liability company. The sole member of Dunkin’

Donuts LLC is Dunkin’ Brands, Inc., a Delaware corporation. The principal place of business of

all the foregoing entities is at Canton, Massachusetts.

         7.    The sole member of Plaintiffs Dunkin’ Donuts Franchising LLC and Baskin-

Robbins Franchising LLC is DB Franchising Holding Company LLC, which is a Delaware limited

liability company with its principal place of business at Canton, Massachusetts. In turn the sole

member of DB Franchising Holding Company LLC is DB Master Finance LLC. As stated above,

DB Master Finance LLC is a Delaware limited liability company with its principal place of

business in Canton, Massachusetts.

         8.    Dunkin’ and Baskin operate as separate corporations. However, they pursue or

permit joint development of units in selected markets, which are commonly referred to as “combo”

shops.

         9.    Defendant Yugdharini LLC is a North Carolina limited liability company with its

principal place of business in North Carolina. Defendant Yugdharini LLC was the owner of

Dunkin’ Donuts and Baskin-Robbins combo shops located at (1) 6763 Albemarle Road, Charlotte,




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North Carolina 28212, pursuant to a Franchise Agreement dated January 24, 2013, and (2) 5605

N. Tryon Street, Charlotte, North Carolina, pursuant to a Franchise Agreement dated January 24,

2013.

        10.     Defendant Rohitkumar L. Savani is a natural person and a citizen and resident of

North Carolina. Defendant Savani is a member of Yugdharini LLC and personally guaranteed

Yugdharini LLC’s obligations under the Franchise Agreements and Sublease Agreements pursuant

to executed personal guarantees.

        11.     Defendant Rajendra I. Patel is a natural person and a citizen and resident of North

Carolina. Defendant Patel is a member of Yugdharini LLC and personally guaranteed Yugdharini

LLC’s obligations under the Franchise Agreements and Sublease Agreements pursuant to executed

personal guarantees.

        12.     Defendant Harpreet Singh is a natural person and a citizen and resident of North

Carolina. Defendant Singh is a member of Yugdharini LLC and personally guaranteed Yugdharini

LLC’s obligations under the Franchise Agreements and Sublease Agreements pursuant to executed

personal guarantees.

        13.     Defendant Babubhai K. Dudhat is a natural person and a citizen and resident of

North Carolina. Defendant Dudhat is a member of Yugdharini LLC and personally guaranteed

Yugdharini LLC’s obligations under the Franchise Agreements and Sublease Agreements pursuant

to executed personal guarantees.

        14.     Defendant Jagdish N. Nakrani is a natural person and a citizen and resident of North

Carolina.     Defendant Nakrani is a member of Yugdharini LLC and personally guaranteed

Yugdharini LLC’s obligations under the Franchise Agreements and Sublease Agreements pursuant

to executed personal guarantees.




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                                     JURISDICTION AND VENUE

        15.         This Court has jurisdiction pursuant to Sections 34(a) and 39 of the Lanham Act,

15 U.S. C. §§ 1116 (a) & 1121, and 28 U.S.C. §§ 1331, 1332(a), 1338, & 1367(a). The amount in

controversy exceeds $75,000, exclusive of interest and costs.

        16.         This Court has in personam jurisdiction over Defendants because they conduct

business in this district, they are residents of this district, and/or the events giving rise to Plaintiffs’

claims occurred in this district.

        17.         Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because Defendants

reside in this district and/or a substantial part of the events giving rise to Plaintiffs’ claims occurred

in this district.

                                        BACKGROUND FACTS

                                      The Dunkin’ Donuts System

        18.         Dunkin’ is the franchisor of the Dunkin’ Donuts franchise system.

        19.         DD IP Holder LLC is the owner of the trademark, service mark, and trade name

“Dunkin’ Donuts,” and related marks. Dunkin’ has the exclusive license to use and to license

others to use these marks and trade name and has, along with its predecessors, used them

continuously since approximately 1960 to identify its donut shops, and the donuts, pastries, coffee,

and other products associated with those shops.

        20.         DD IP Holder LLC owns numerous federal registrations for the mark “Dunkin’

Donuts,” and related marks. Among those registrations are Registration Nos. 748,901; 1,148,165;

and 2,751,007. Each of these registrations is in full force and effect, and is incontestable pursuant

to 15 U.S.C. § 1065. Each registration is prima facie evidence of the validity of the registration,

of DD IP Holder LLC’s ownership of the Dunkin’ Donuts marks, and of Dunkin’ exclusive right

to use those marks in commerce on the services and goods listed above, as provided in 15 U.S.C.


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§§ 1057(b) and 1115(a).

          21.    The Dunkin’ Donuts trademarks and trade name are distinctive and famous and

have acquired secondary meaning.

          22.    The Dunkin’ Donuts trademarks and trade name are utilized in interstate commerce.

          23.    The Dunkin’ Donuts marks have been very widely advertised and promoted by

Dunkin’ over the years.       Since 1971, Dunkin’ and its franchisees spent over $2.5 billion on

advertising and promoting the Dunkin’ Donuts marks.

          24.    Dunkin’ Donuts franchisees currently operate more than 12,000 restaurants

worldwide, including over 8,800 restaurants in the United States. Dunkin’ Donuts shops feature

Dunkin’ Donuts’ distinctive trade dress, including the pink and orange color scheme, and the

frankfurter lettering style. In the more than fifty years since the Dunkin’ Donuts system began,

millions of consumers have been served in Dunkin’ Donuts shops.

          25.    As a result of the extensive sales, advertising, and promotion of items identified by

the Dunkin’ Donuts marks, the public has come to know and recognize the Dunkin’ Donuts marks,

and to associate them exclusively with products and services offered by Dunkin’ and its

franchisees. The Dunkin’ Donuts marks are among the best and most widely known trademarks

in the United States today, and are assets of inestimable value to Dunkin’, representing and

embodying Dunkin’s considerable goodwill and favorable reputation.

                                        The Baskin-Robbins System

          26.    Baskin-Robbins is the franchisor of the Baskin-Robbins franchise system.

          27.    Baskin-Robbins is engaged in the business of franchising independent

businesspersons to individually own and operate Baskin-Robbins shops throughout the United

States.




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       28.      BR IP Holder LLC is the owner of the trademark, service mark, and trade name

“Baskin-Robbins” and related marks. Baskin-Robbins has the exclusive license to use and to

license others to use these marks and trade names and has, along with its predecessors, used them

continuously since approximately 1947 to identify its ice cream stores, and the ice cream and other

products associated with those stores.

       29.      BR IP Holder LLC owns numerous federal registrations for the mark “Baskin-

Robbins” or derivations thereof, as well as related marks. Each of these registrations is in full

force and effect, and most of them are incontestable pursuant to 15 U.S.C. § 1065. Each

registration is prima facie evidence of the validity of the registration, of BR IP Holder LLC’s

ownership of the Baskin-Robbins Marks, and of Baskin-Robbins’ exclusive right to use those

marks in commerce on the services and goods listed above, as provided in 15 U.S.C. §§ 1057(b)

and 1115(a).

       30.      The Baskin-Robbins trademarks are utilized in interstate commerce.

       31.      The Baskin-Robbins marks have been very widely advertised and promoted by

Baskin-Robbins over the years. As a result, the Baskin-Robbins marks have become famous

throughout the United States.

       32.      Baskin-Robbins and its franchisees currently operate approximately 2,500 shops in

the United States and 7,600 shops around the world. In the more than seventy years since the

Baskin-Robbins system began, millions of consumers have been served in Baskin-Robbins stores.

       33.      As a result of the extensive sales, advertising, and promotion of items identified by

the Baskin-Robbins marks, the public has come to know and recognize the Baskin-Robbins marks,

and to associate them exclusively with products and services offered by Baskin-Robbins and its

franchisees. The Baskin-Robbins marks are among the best and most widely known trademarks




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in the United States today, and are assets of inestimable value to Baskin-Robbins, representing and

embodying Baskin-Robbins’ considerable goodwill and favorable reputation.

                          Obligations Under the Franchise Agreements

          34.    Under the Franchise Agreements, Defendants agreed to use the Dunkin’ Donuts

and Baskin-Robbins proprietary marks, including but not limited to, their trademarks, service

marks, logos, emblems, trade dress and other indicia of origin, only in the manner and to the extent

specifically licensed by the Franchise Agreements. (Franchise Agreements § 9.0).

          35.    Pursuant to the Franchise Agreements, Dunkin’ and Baskin-Robbins have the right

to establish “Standards” “for various aspects of its System that include the . . . quality of the

operating systems of restaurants and other concepts; the products that are sold; . . . and all other

things affecting the experience of consumers who patronize [the] System.” (Franchise Agreements

§ 2.2).

          36.    Defendants also agreed that they were “responsible for . . . exercising day-to-day

control over your franchised business. You also have the responsibility to adhere to the Standards

of the System as they now exist and may from time to time be modified, and you acknowledge

that at the heart of [the] System and this franchise relationship is your commitment to that

responsibility.” (Id. § 2.3.)

          37.    Pursuant to the Franchise Agreements, Defendants agreed to operate their

franchises in accordance with Dunkin’s and Baskin-Robbins’ operational Standards, including but

not limited to complying with all of Dunkin’s and Baskin-Robbins’ requirements relating to health,

food safety, and sanitation. (Id. §§ 7.0, 7.08.)

          38.    Defendants agreed to cure a violation of “any . . . Standard relating to health,

sanitation or safety . . . within twenty-four hours after delivery of notice of default to you in our




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then-standard form or forms of communication.” (Id. § 14.1.3.)

       39.     Defendants also agreed that Dunkin’ and Baskin-Robbins may terminate the

Franchise Agreements without providing them an opportunity to cure if they default under the

Franchise Agreements and they have received three (3) or more previous notices to cure for the

same or substantially similar default (whether or not they have cured the default), within the

immediately preceding twelve-month period. (Id. § 14.2.)

       40.     Defendants agreed that upon the termination of the Franchise Agreements, among

other things, their right to use the Dunkin’ Donuts and Baskin-Robbins proprietary marks and

systems would cease, and that they would immediately cease to operate the franchised businesses,

cease to use the proprietary marks and system, and would not, directly or indirectly, hold

themselves out as present or former franchisees of Dunkin’ Donuts and Baskin-Robbins. (Id. §§

14.6, 14.7.2, 14.7.3).

       41.     Defendants also agreed that they would promptly pay Plaintiffs all sums owing and

any damages, interest, costs, and expenses, including reasonable attorneys’ fees, incurred as a

result of Defendants’ defaults. (Id. § 14.4.4.)

                          Obligations Under the Sublease Agreements

       42.     On January 24, 2013, Defendant Yugdharini LLC entered into an Agreement to

Transfer by Sale of Assets, pursuant to which it was assigned Sublease Agreements for both shops

with DB Real Estate Assets I LLC.

       43.     Under the Sublease Agreements, Defendants agreed that DB Real Estate Assets I

LLC has the right to terminate the Sublease Agreements if the Franchise Agreement for the

respective shop is terminated for any reason. (Sublease Agreements § 13.7).

       44.     Defendants agreed that DB Real Estate Assets I LLC has the right, upon




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termination, to enter upon the premises and repossess the same and expel Defendant. (Id. § 9.5).

       45.     Defendant agreed to pay DB Real Estate Assets I LLC all reasonable attorneys’

fees and costs it incurs in enforcing Defendant’s obligations under the Sublease Agreement. (Id.).

                                      Defendants’ Defaults

       46.     Defendants breached the Franchise Agreements and Sublease Agreements by

committing the conduct described below.

       47.     On July 6, 2017, May 30, 2018, and June 2, 2018, Defendants’ shops were

inspected by Plaintiffs. The inspections revealed numerous violations of Plaintiffs’ standards for

health, food safety, and sanitation. Each inspection resulted in a failing grade.

       48.     After the failed inspections in July 2017, Defendants were placed into Plaintiffs’

Process for Improvement program. The Process for Improvement program is an approximately

90-120 day program designed to assist franchisees in refocusing on the basics of operating their

restaurants and in complying with Plaintiffs’ operating standards.

       49.     Despite being placed in the Process for Improvement program, Defendants failed

to demonstrate sufficient progress, and in March 2018 were issued an Unsuccessful Exit from the

program.

       50.     On July 11, 2017, May 31, 2018, and June 4, 2018, Defendants were sent Notices

to Cure for both shops notifying them that they were in default of their Franchise Agreements

based on their failure to comply with Plaintiffs’ standards. The Notices demanded that they cure

the violations identified on the inspection forms they had been provided within 24 hours, per the

terms of the Franchise Agreements. While Defendants did ultimately cure the violations identified

during the July 6, 2017 inspection, in each subsequent instance Defendants failed to cure the

violations noted.

       51.     On June 6, 2018, Defendants’ shops were inspected and, once again, found to be in


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default of Plaintiffs’ standards. For example, the inspections revealed the existence of mold in the

ice machine, food preparation equipment not properly cleaned and sanitized, food not properly

dated or stored, and improper hygiene practices by employees, to name but a few of the violations

identified.

        52.     Accordingly, pursuant to the applicable provisions of the Franchise Agreements

and Sublease Agreements, on June 7, 2018, Plaintiffs sent Defendants a Notice of Termination.

The Notice of Termination terminated the Franchise Agreements and Sublease Agreements, stated

the grounds for termination, and requested that Defendants immediately comply with their post-

termination obligations as set forth in the Franchise Agreements and Sublease Agreements.

        53.     Notwithstanding Defendants’ breaches of the Franchise Agreements and Sublease

Agreements, the resulting termination of the Franchise Agreements and Sublease Agreements, and

the Notice of Termination, Defendants have continued to operate the shops, using the Dunkin’

Donuts and Baskin-Robbins systems and Dunkin’s and Baskin-Robbins’ proprietary marks

without having any right or license to do so.

                                           COUNT I
                    (Breach of Contract - Breach of Franchise Agreements)

        54.     The allegations of paragraphs 1 through 53 are hereby incorporated by reference.

        55.     Dunkin’ and Baskin-Robbins have performed all of their obligations under the

Franchise Agreements.

        56.     Defendants’ conduct described herein constitutes breaches of the above-described

contractual obligations contained in the Franchise Agreements.

        57.     These breaches constitute good cause for terminating the Franchise Agreements.

        58.     As a result of Defendants’ actions, Plaintiffs have suffered and are continuing to

suffer irreparable injury, and have incurred and are continuing to incur monetary damage in an



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amount that has yet to be determined, but is believed to be in excess of $75,000.00 exclusive of

costs and interest.

                                            COUNT II
                      (Breach of Contract - Breach of Sublease Agreements)

       59.     The allegations of paragraphs 1 through 58 are hereby incorporated by reference.

       60.     DB Real Estate Assets I LLC has performed all of its obligations under the Sublease

Agreements.

       61.     Defendants’ conduct described herein constitutes breaches of the above-described

contractual obligations contained in the Sublease Agreements.

       62.     These breaches constitute good cause for terminating the Sublease Agreements.

       63.     As a result of Defendants’ actions, DB Real Estate Assets I LLC has suffered and

is continuing to suffer irreparable injury, and has incurred and is continuing to incur monetary

damage in an amount that has yet to be determined, but is believed to be in excess of $75,000.00

exclusive of costs and interest.

                                         COUNT III
                                   (Trademark Infringement)

       64.     The allegations of paragraphs 1 through 63 are hereby incorporated by reference.

       65.     The use in commerce of the Dunkin’ Donuts and Baskin-Robbins trademarks and

trade names by Defendants outside the scope of the Franchise Agreements and without Dunkin’s

and Baskin-Robbins’ consent is likely to confuse or deceive the public into believing, contrary to

fact, that the unauthorized activities of Defendants are licensed, franchised, sponsored, authorized,

or otherwise approved by Dunkin’ and Baskin-Robbins. Such unauthorized use of Dunkin’s and

Baskin-Robbins’ trademarks and trade names infringes their exclusive rights in their trademarks

under Section 32 of the Lanham Act, 15 U.S. C. § 1114 and applicable state law.




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       66.     The acts of Defendants were and are being done knowingly and intentionally to

cause confusion, or to cause mistake, or to deceive.

       67.     As a result of the actions of Defendants, Dunkin’ and Baskin-Robbins have suffered

and are continuing to suffer irreparable injury, and have incurred and are continuing to incur

monetary damage in an amount that has yet to be determined, but is believed to be in excess of

$75,000.00 exclusive of costs and interest.

                                        COUNT IV
                     (Unfair and Deceptive Trade Practices/Competition)

       68.     The allegations of paragraphs 1 through 67 are hereby incorporated by reference.

       69.     The use in commerce of Dunkin’s and Baskin-Robbins’ trademarks and trade

names by Defendants outside the scope of the Franchise Agreements and without the consent of

Dunkin’ and Baskin-Robbins is likely to cause confusion, or to cause mistake, or to deceive as to

the origin, sponsorship, or approval of their goods, services, or commercial activities by another

person. Such unauthorized use of Dunkin’s and Baskin-Robbins’ trademarks and trade names

violates Section 43 of the Lanham Act, 15 U.S.C. § 1125(a) and applicable state law.

       70.     The acts of Defendants were and are being done knowingly and intentionally to

cause confusion, or to cause mistake, or to deceive.

       71.     As a result of Defendants’ unfair and deceptive trade practices, Dunkin’ and

Baskin-Robbins have suffered and are continuing to suffer irreparable injury, and have incurred

and are continuing to incur monetary damage in an amount that has yet to be determined, but is

believed to be in excess of $75,000.00 exclusive of costs and interest.

       72.     As a further result of Defendants’ unfair and deceptive trade practices, Plaintiffs

seek treble damages per N.C.Gen.Stat. § 75-16 and recovery of reasonable attorney’s fees per

N.C.Gen.Stat. § 75-16.1.



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                                           COUNT V
                                   (Trade Dress Infringement)

       73.     The allegations of paragraphs 1 through 71 are hereby incorporated by reference.

       74.     Defendants’ shops are identified by signs, exterior appearance, packaging,

containers, and other items on which the words “Dunkin’ Donuts” and/or “Baskin-Robbins”

appear in the same lettering style and in the same distinctive color scheme as Dunkin’ Donuts and

Baskin-Robbins use for the donut and ice cream shops operated by their licensees.

       75.     The use by Defendants of trade dress that is identical to the Dunkin’ Donuts and

Baskin-Robbins trade dress outside the scope of the Franchise Agreements constitutes a false

designation of the origin of Defendants’ shops, which is likely to cause confusion, or to cause

mistake, or to deceive the public as to the affiliation, connection, or association of their shop with

the Dunkin’ Donuts and Baskin-Robbins shops operated by their licensees. Such adoption of

Dunkin’ Donuts’ and Baskin-Robbins’ trade dress violates Section 43 of the Lanham Act, 15

U.S.C. § 1125, and the common law.

       76.     The acts of Defendants were and are being done knowingly and intentionally to

cause confusion, or to cause mistake, or to deceive.

       77.     As a result of the actions of Defendants, Dunkin’ and Baskin have suffered and are

continuing to suffer irreparable injury, and have incurred and are continuing to incur monetary

damage in an amount that has yet to be determined, but is believed to be in excess of $75,000.00

exclusive of costs and interest.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray that this Court:

       a.      Enter an order stating that: the conduct of Defendants violated the terms of the

Franchise Agreements and Sublease Agreements; the conduct of Defendants constitutes good



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cause for terminating those agreements; and the agreements are terminated without prejudice to

Plaintiffs’ additional rights thereto;

        b.      Enter an injunctive order ratifying and enforcing the termination of the Franchise

Agreements and Sublease Agreements;

        c.      Enter a judgment in favor of Plaintiffs for the damages incurred by them as a result

of the breaches of the Franchise Agreements and Sublease Agreements by Defendants, which are

believed to be in excess of $75,000.00 exclusive of costs and interest;

        d.      Enter a judgment in favor of Plaintiffs for the damages incurred by them as a result

of Defendants’ violation of Plaintiffs’ trademark rights, which are believed to be in excess of

$75,000.00 exclusive of costs and interest;

        e.      Enter a judgment in favor of Plaintiffs for the damages incurred by them as a result

of Defendants’ use of the Dunkin’ Donuts and Baskin-Robbins trade dress outside the scope of the

Franchise Agreements, which are believed to be in excess of $75,000.00 exclusive of costs and

interest;

        f.      Enter a judgment in favor of Plaintiffs for the damages incurred by them as a result

of Defendants’ unfair and deceptive trade practices, including without limitation Defendants’ use

in commerce of Dunkin’s and Baskin-Robbins’ trademarks and trade names by Defendants outside

the scope of the Franchise Agreements and without the consent of Dunkin’ and Baskin-Robbins,

which are believed to be in excess of $75,000.00 exclusive of costs and interest;

        g.      Treble Plaintiffs’ damages incurred as a result of Defendants’ unfair and deceptive

trade practices and award Plaintiffs their reasonable attorneys fees per N.C.Gen.Stat. §§ 75-16 and

75-16.1, respectively;

        h.      Enjoin Defendants and all those acting in concert with them from infringing upon




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Plaintiffs’ trademarks, trade dress, and trade names and from otherwise engaging in unfair

competition with Plaintiffs;

       i.      Enter an injunctive order directing Defendants to comply with their post-

termination obligations under any contract with Plaintiffs, including but not limited to the

Franchise Agreements and Sublease Agreements;

       j.      Award Plaintiffs prejudgment interest in accordance with Section 35 of the Lanham

Act, 15 U.S.C. § 1117;

       k.      Award Plaintiffs their costs and attorneys’ fees incurred in connection with this

action pursuant to the Franchise Agreements, Sublease Agreements, and Section 35 of the Lanham

Act, 15 U.S.C. § 1117; and

       l.      Award Plaintiffs such other relief as this Court may deem just and proper.



Dated: June 8, 2018                          Respectfully submitted,

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